Case 1:15-cr-00169-DAD-BAM Document 123 Filed 06/21/17 Page 1 of 7
Case 1:15-cr-00169-DAD-BAM Document 123 Filed 06/21/17 Page 2 of 7
Case 1:15-cr-00169-DAD-BAM Document 123 Filed 06/21/17 Page 3 of 7
Case 1:15-cr-00169-DAD-BAM Document 123 Filed 06/21/17 Page 4 of 7
Case 1:15-cr-00169-DAD-BAM Document 123 Filed 06/21/17 Page 5 of 7
Case 1:15-cr-00169-DAD-BAM Document 123 Filed 06/21/17 Page 6 of 7
Case 1:15-cr-00169-DAD-BAM Document 123 Filed 06/21/17 Page 7 of 7
